U
FOR

MARIA MOE,

V.

DONALD TRUMP, in his off
President of the United States
MCHENRY III, in his officia
Attorney General of the Unite

NITED STATES DISTRICT COURT

THE DISTRICT OF MASSACHUSETTS

Plaintiff, Civil Action No. 25-10195-GAO

‘icial capacity as

; JAMES R.

| capacity as Acting
d States; WILLIAM

LOTHROP, in his official capacity as Acting

Director of the Federal Burea

SEN]
DESIGNATIQ

I, Rick Stover, declare

1. I am currently

1 of Prisons;

Defendants.

DECLARATION OF RICK STOVER,

OR DEPUTY ASSISTANT DIRECTOR
IN AND SENTENCE COMPUTATION CENTER

and state as follows:

employed by the Federal Bureau of Prisons (Bureau). Since June

2024, I have served as the Senior Deputy Assistant Director of the Designation and Sentence

Computation Center, within t]

2. Prior to becom
Sentence Computation Cented
Bureau, most recently as the |
Connecticut.

3. I am familiar v

ne Bureau’s Correctional Programs Division.
ing Senior Deputy Assistant Director of the Designation and

, I worked in positions of increasing responsibility within the

Warden at the Federal Correctional Institution in Danbury,

vith the Bureau’s general policies and practices on housing for

transgender inmates, including the rationales for those policies. As part of my official duties, I

have access to records maintained in the ordinary course of business by the Bureau, including

inmate medical and mental he

alth records.

4,

As the Senior Deputy Assistant Director within the Bureau’s Correctional

Programs Division, | am a member of the Transgender Executive Council (TEC). I am

responsible for monitoring an
twice monthly Transgender E
review all initial designations
transgender in the Bureau. I a

information, programs, and pq

5. The informatic
and belief.
6. As of January

facilities and halfway houses
Female to Male Transgender
inmates living in female instit

7. Plaintiff, Mari

H providing guidance on transgender issues. I manage monthly or
kecutive Counsel (TEC) multi-disciplinary team meetings and
and re-designation requests of inmates self-identifying as

m involved in the development of accommodations, resource
blicy to ensure the needs of transgender inmates are met.

bn below is based upon personal knowledge and upon information

10, 2025, there are 2,230 transgender inmates housed in BOP
s. There are 1,506 Male to Female Transgender inmates and 724
inmates. The BOP currently has 16 Male to Female transgender
tutions.

a Moe, Register Number *****-***, is currently housed at the

Federal Correctional Institution in ee. Plaintiff is a transgender

prisoner that has been receivi
8. Maria Moe w
general population on January
9.

Moe’s progress and current h

most appropriate for Moe we

hg treatment for Gender Dysphoria since a
as removed from the Special Housing Unit and placed back into

27, 2025.

The Transgender Executive Council convened on January 24, 2025, and reviewed

ousing placement. The council found that the institutions that were

council reviewed

10. In determining the most appropriate placement, the council took into account the

11.‘ The council found that a were primary options

because each is
nce and range of expertise, placing Moe i
ae... ld minimize the likelihood that Moe would be victimized.

In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

Based on the council’s experie

is true and correct to the best of my knowledge.

Dated: January 28, 2025

PACK STOVER

